Case 2:20-cv-12230-PDB-EAS ECF No. 1-2, PageID.34 Filed 08/18/20 Page 1 of 1




                                      EXHIBIT A



                 Plaintiff’s Names, Addresses, And Legal Descriptions

Tawanda Hall        24650 Martha Washington Dr., Southfield, Mi 48075

T1n,R10e,Sec 26 230-1 A P J L Bakers Wash Hts Sub Wly 6 Ft Of Lot 229, Also All Of Lots
230 & 231
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Kristina Govan      19095 Hilton, Southfield, Mi 48075

T1n,R10e,Sec 23 521-2 Evershire Lots 521 & 522 Also N 10 Ft Of Vacated Alley Adj To
Same
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Carolyn Miller      17600 George Washington Dr., Southfield, Mi 48075

T1n,R10e,Sec 25 128-0 Southampton Sub. Lots 128, 129 & 130
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American Internet Group 25927 Mc Allister, Southfield, Mi 48033

T1n,R10e,Sec 20 34a Hart Bros Mc Alister Subdn N 1/2 Of Lot 34
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Marcus Byers               21666 S Hidden Rivers Dr., Southfield, Mi 48075

T1n,R10e,Sec 27 Oakland County Condominium Plan No 950 River Crossing
Condominium Unit 31, Bldg G
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Curtis And Coretha Lee     16412 Stratford Dr., Southfield, Mi 48075

T1n,R10e,Sec 25 77 Southfield Farms Lot 77
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Anthony Akande             29800 Chelmsford Rd., Southfield, Mi 48076

T1n,R10e,Sec 11 10 Cranbrook Village Sub No. 4 Lot 325
